                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      MCALLEN DIVISION

    UNITED STATES OF AMERICA,                                 §
            Plaintiff,                                        §
                                                              §
    v.                                                        §      CIVIL ACTION NO. 7:20-cv-00091
                                                              §
    2.726 ACRES OF LAND, MORE OR LESS,                        §
    SITUATE IN HIDALGO COUNTY, STATE                          §
    OF TEXAS, AGUINALDO VILLARREAL,                           §
    et al.,                                                   §
             Defendants.                                      §

   JOINT STIPULATION AND MOTION FOR ORDER ESTABLISHING JUST
COMPENSATION, GRANTING POSSESSION, DISBURSING FUNDS ON DEPOSIT IN
          THE REGISTRY OF THE COURT, AND CLOSING CASE

           1.       On March 30, 2020, the United States filed a Complaint in Condemnation (Dkt.

No. 1) and Declaration of Taking (Dkt. No. 2) to acquire a fee simple interest in real property

identified as Tracts RGV-MCS-2101 and RGV-MCS-2101-1 (hereafter “Subject Property”) for

purposes of the border fence infrastructure project. 1 On April 6, 2020, the United States deposited

$21,500.00 into the Registry of the Court as estimated just compensation for the acquisition of the

Subject Property. Accordingly, on April 6, 2020—the date of taking—title in the Subject Property

vested in the United States, as did the right to just compensation in Defendants AGUINALDO

VILLARREAL and AMALIA C. VILLARREAL.

           2.       Proof of Ownership: Defendants AGUINALDO VILLARREAL and AMALIA C.

VILLARREAL claim that on the date of taking, they were sole owners of the Subject Property

that is the subject of this stipulation and motion. The United States concurs in their claim of

ownership. Because AGUINALDO VILLARREAL and AMALIA C. VILLARREAL were the

sole owners of the parent parcel of the Subject Property on date of taking—April 6, 2020—both


1
    Schedules “C”, “D”, and “E”, Dkt Nos. 1-1 at 6-10, 12-17, 19; 2-1 at 6-10, 12-17, 19.

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are entitled to just compensation for same by virtue of the following: In June 2019, nine record

owners conveyed the parent parcel of the Subject Property to AGUINALDO VILLARREAL and

AMALIA C. VILLARREAL through Gift Deed. 2 The United States also initially identified two

other individuals as potentially having an interest in the Subject Property in its Schedule “G” of

the Complaint in Condemnation (Dkt. No. 1) and Declaration of Taking (Dkt. No. 2)—to wit: San

Juanita Hernandez and Maria Magdalena Cantu. 3 However, the Court subsequently dismissed

these nine individuals on motion from the parties with supporting evidence showing that they had

been unnecessarily or improperly joined because San Juanita Hernandez and Maria Magdalena

Cantu had no interest in the Subject Property on the date of taking. 4

           3.      The United States and the undersigned AGUINALDO VILLARREAL and

AMALIA C. VILLARREAL now make this joint stipulation and motion for entry of an Order: (a)

establishing twenty one thousand five hundred and 00/100 dollars ($21,500.00) as the total just

compensation for the fee interest, described in Schedule “E” of the Complaint in Condemnation

(Dkt. No. 1) and Declaration of Taking (Dkt. No. 2), in Tracts RGV-MCS-2101 and RGV-MCS-

2101-1; (b) granting the United States immediate possession of Tracts RGV-MCS-2101 and RGV-

MCS-2101-1; (c) disbursing the stipulated amount of just compensation, as directed below, from

the funds on deposit in the Registry of the Court; and (d) closing this case on the Court’s docket.

As grounds for this motion, the parties jointly state the following:

      a. The United States and AGUINALDO VILLARREAL and AMALIA C. VILLARREAL

           confirm and agree that the full and just compensation payable by the United States for the



2
    Dkt. No. 14-1 (Gift Deed, Document #2019-3023908, Official Records of Hidalgo Cnty., TX).
3
 Dkt. No. 1-1 at 23; Dkt. No. 2-1 at 23.
4
 Dkt. No. 14 (“United States of America’s Unopposed Motion to Dismiss San Juanita Hernandez and Maria
Magdalena Cantu as Unnecessarily or Improperly Joined Party Defendants”); Dkt No. 15 (“Order Granting
Unopposed Motion to Dismiss Two Defendants Only”).

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           taking of Tracts RGV-MCS-2101 and RGV-MCS-2101-1 shall be the sum of twenty one

           thousand five hundred and 00/100 dollars ($21,500.00) plus any accrued interest, which

           sum is all inclusive and in full satisfaction of any claims of whatsoever nature by the

           undersigned AGUINALDO VILLARREAL and AMALIA C. VILLARREAL against the

           United States for the institution and prosecution of the above-captioned action.

       b. The parties respectfully request judgement be entered against the United States in the

           amount of twenty one thousand five hundred and 00/100 dollars ($21,500.00) plus any

           accrued interest for the taking of Tracts RGV-MCS-2101 and RGV-MCS-2101-1.

       c. On April 6, 2020, the United States deposited a check in the amount of twenty one thousand

           five hundred and 00/100 dollars ($21,500.00) into the Registry of the Court. 5 The United

           States, AGUINALDO VILLARREAL and AMALIA C. VILLARREAL agree that upon

           said deposit, title to Tracts RGV-MCS-2101 and RGV-MCS-2101-1 vested in the United

           States by operation of law.

       d. The United States shall be entitled to immediate possession of Tracts RGV-MCS-2101 and

           RGV-MCS-2101-1, and all persons in possession or control of the interests taken in this

           property should be ordered by the Court to surrender possession of same to the United

           States, to the extent of the estate being condemned 6:

                  The estate taken is fee simple, subject to existing easements for public roads
           and highways, public utilities, railroads, and pipelines; and subject to all interests
           in minerals and appurtenant rights for exploration, development, production and
           removal of said minerals;
                  Excepting and excluding all interests in water rights and water distribution
           and drainage systems, if any, provided that any surface rights arising from such
           water rights or systems are subordinated to the United States’ construction,
           operation and maintenance of the border barrier.



5
    Dkt. No. 5 at 1.
6
    Dkt. No. 2-1 at 19, Schedule “E.”

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    e. There are outstanding delinquent ad valorem taxes or assessments owing as to Tracts RGV-

         MCS-2101 and RGV-MCS-2101-1 under the following (2) accounts 7:

                    i. Account Number: L6050-00-000-0103-00 in the amount of $6,525.43 (as of
                       May 2020) owed to Defendant Pablo “Paul” Villarreal, Jr., Hidalgo County Tax
                       Assessor-Collector; and Claimants, Hidalgo County, Texas, Hidalgo County
                       Drainage District No. 1, South Texas Independent School District, and South
                       Texas College, for the period of 1991 to the date of taking: April 6, 2020.

               ii.     Account Number: L6050-00-000-0103-10 in the amount of $5,650.28 (as of
                       May 2020) owed to Defendant Pablo “Paul” Villarreal, Jr., Hidalgo County Tax
                       Assessor-Collector; and Claimants, Hidalgo County, Texas, Hidalgo County
                       Drainage District No. 1, South Texas Independent School District, and South
                       Texas College, for the period of 1991 to the date of taking: April 6, 2020.

         The Taxing Authorities commenced a tax suit (T0077-12G) to recover ad valorem taxes

         for Account Numbers: L6050-00-000-0103-00 and L6050-00-000-0103-10. The following

         charges are owing under said tax suit:

               i.      Court Costs: $300.00

               ii.     Abstract Fees: $250.00

         The total sum of twenty one thousand five hundred and 00/100 dollars ($21, 500.00), with

         accrued interest, shall be subject to all taxes, liens, encumbrances, and charges of

         whatsoever nature existing against the interests in the property taken in this proceeding at

         the time of vesting of title in the United States, and all such real estate taxes, liens,

         encumbrances, and charges of whatsoever nature shall be payable to and deductible from

         this amount.




7
  See Dkt. No. 12, “Verified Claims” of Defendant Pablo “Paul” Villarreal, Jr., Hidalgo County Tax Assessor-
Collector; and Claimants, Hidalgo County, Texas, Hidalgo County Drainage District No. 1, South Texas Independent
School District, and South Texas College (collectively, hereafter “Taxing Authorities”). The parties note that a third
account is associated with Tracts RGV-MCS-2101 and RGV-MCS-2101-1 (Account Number: L6050-00-000-010-
22), which the Taxing Authorities have confirmed that said third account is current as of the date of taking.




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f. The stipulated just compensation remains on deposit in the Court’s Registry. The Clerk of

   Court shall now, without further order of the Court, disburse the total sum of twenty one

   five hundred and 00/100 dollars ($21,500.00), along with any accrued interest earned

   thereon while on deposit, payable to the order of

         i. $12,175.71 to Pablo (Paul) Villarreal Jr., PCC;

         ii.    $300.00 to Hidalgo County District Clerk’s Office;

         iii.   $250.00 to Linebarger Goggan Blair & Sampson, LLP; and

         iv.    $8,774.29 with accrued interest, to AGUINALDO VILLARREAL and
                AMALIA C. VILLARREAL.

g. Defendants AGUINALDO VILLLARREAL and AMALIA C. VILLARREAL warrant

   they were the owners of the Subject Property taken in this proceeding on the date of taking;

   (b) they have the exclusive right to the compensation, herein; excepting the interests of

   parties having liens, leases, encumbrances of record, and unpaid taxes and assessments, if

   any; and (c) that no other party is entitled to the same or any part thereof by reason of any

   unrecorded agreement.

h. In the event that any other party is ultimately determined by a court of competent

   jurisdiction to have any right to receive compensation for the interest in the property taken

   in this proceeding, AGUINALDO VILLARREAL and AMALIA C. VILLARREAL shall

   refund into the Registry of the Court the compensation distributed herein, or such part

   thereof as the Court may direct, with interest thereon at an annual rate provided in 40 U.S.C.

   § 3116 from the date of receipt of the respective deposit by AGUINALDO VILLARREAL

   and AMALIA C. VILLARREAL, to the date of repayment into the Registry of the Court.




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i. AGUINALDO VILLARREAL and AMALIA C. VILLARREAL shall be responsible

   for their own legal fees, costs, and expenses, including attorney fees, consultant fees,

   and any other expenses or costs.

j. There being no outstanding taxes or assessments due or owing, AGUINALDO

   VILLARREAL and AMALIA C. VILLARREAL are responsible for the payment of

   any additional taxes or assessments which he otherwise owes on the interest in the

   property taken in this proceeding on the date of taking.

k. AGUINALDO VILLARREAL and AMALIA C. VILLARREAL shall take no appeal

   from any rulings or judgments made by the Court in this action, and the parties consent

   to the entry of all motions, orders, and judgments necessary to effectuate this stipulated

   judgment.

l. AGUINALDO VILLARREAL and AMALIA C. VILLARREAL shall save and hold

   harmless the United States from all claims or liability resulting from any unrecorded

   leases or agreements affecting the interest in the property taken in this proceeding on

   the date of taking.

m. This joint stipulation and motion is binding on the heirs, trustees, executors,

   administrators, devisees, successors, assigns, agents, and representatives of

   Defendants.

n. The parties request that the Court enter an order closing this case on the Court’s docket.




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AGRUD AS TO JORM AND SUBSTANCE:


10R DUENDANTS:
                                                     JOR PLAINTIFF:

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 School District, and South Tcus College




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that he served a true and correct copy of the foregoing Joint

Stipulation and Motion for Order Establishing Just Compensation, Granting Possession,

Disbursing Funds on Deposit in the Registry of the Court, and Closing Case on all parties in this

                                                         June 10-11
case via CM/ECF email notification and regular mail on_____________________, 2020.



                                                By: s/Baltazar Salazar
                                                   Baltazar Salazar
                                                   Assistant United States Attorney




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